              Case 1:09-cr-00075-DAD Document 60 Filed 09/01/11 Page 1 of 3


 1   PRECILIANO MARTINEZ
     ATTORNEY AT LAW
 2   State Bar No. 93253
     801 15th St, Suite F
 3   Modesto, CA 95354
     (209)579-2206/ (209)579-2211 Fax
 4

 5   Attorney for Defendant
     JOSE TALAVERA
 6

 7                              UNITED STATES DISTRICT COURT
 8                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10                                                 )
     UNITED STATES OF AMERICA,                     )       CASE NO. 1:09-cr-00075-AWI
11              Plaintiff,                         )
12
          vs.                                      )       STIPULATION RE: CONTINUANCE
                                                   )       AND ORDER
13   JOSE TALAVERA                                 )
           Defendant.                              )       Date: October 17, 2011
14
                                                   )       Time: 9:00 a.m.
15                                                 )       Dept.: 2
                                                   )
16                                                 )       Honorable Judge Anthony W. Ishii
17

18
            IT IS HEREBY STIPULATED by and between Assistant United States Kathleen
19

20   Servatius, Counsel for Plaintiff, Attorney Preciliano Martinez, Counsel for Defendant Jose

21   Talavera, that the Status Conference and Motion Hearing date scheduled for September 6, 2011,
22
     at 9:00 a.m. be vacated and the Status Conference and Motion Hearing be continued to this
23
     court’s calendar on October 17, 2011 at 9:00 a.m. Additional time is needed for Mr. Martinez to
24
     review the plea agreement with the defendant Jose Talavera. The government shall file any
25

26   responses to defendant’s motion to suppress by September 19, 2011.

27

28




                                                       1
                             Case 1:09-cr-00075-DAD Document 60 Filed 09/01/11 Page 2 of 3


 1                         The court is advised that counsel have conferred about this request that they have agreed
 2
     to the court date of October 17, 2011 and that Ms. Servatius has authorized Preciliano Martinez
 3
     to sign this stipulation on their behalf.
 4

 5                         The parties agree and stipulate that time should be excluded under the Speedy Trial Act

 6   pursuant to Local Code T4 for completion of plea negotiations, up to and including October 17,
 7
     2011.
 8
                                                                              Respectfully Submitted,
 9

10
     Dated: August 31, 2011                                                   /s/ Preciliano Martinez
11                                                                            Preciliano Martinez
                                                                              Attorney for Defendant
12                                                                            JOSE TALAVERA
13

14
     Dated: August 31, 2011                                                   /s/ Kathleen Servatius
15                                                                            Assistant U.S. Attorney
                                                                              Attorney for Plaintiff
16
                                                                              UNITED STATES OF AMERICA
17

18

19
                                                               ORDER
20
                           Having read and considered the foregoing stipulation, IT IS THE ORDER of the Court
21

22
     that the current September 6, 2011 Status Conference hearing is hereby vacated and reset to

23   October 17, 2011.
24

25

26
     IT IS SO ORDERED.
27

28   Dated: August 31, 2011
     DEAC_Signature-END:
                                                        CHIEF UNITED STATES DISTRICT JUDGE


                                                                   2
               Case 1:09-cr-00075-DAD Document 60 Filed 09/01/11 Page 3 of 3


 1

 2
     0m8i788

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                             3
